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FOR THE WESTERN DISTRICT OF OKL
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BY
(Enter the full name of the plaintiff )
civ §§ -955 F
B.S

(C-ourt Clerk Will insert case number)

 

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(3) bd C/\‘t\/l:r(e Deio“t C:" pred@°@$q$)> c

(Enter the full name /of each defendant Attach
additional sheets as necessary.)

 

_ U d
PRO SE d CIVIL' RIGHTS COMPLAINT

lnitial Instructions

l. You must type or legibly handwrite the Complaint, and youmust answer all
questions concisely and in the proper space. Where more space is needed to answer any
question, you may attach a separate sheet.`

2. You must provide a full name for each defendant and describe Where that
defendant resides or can be located.

3. You must send the original complaint and one copy to the Clerk of the District
Court,

4. You must pay an initial fee of $400 (including a $350 filing fee and a $50
' administrative fee). The complaint Will not be considered filed until the Clerk receives
the $400 fee or you are granted permission to proceed in forma pauperis

5. lf you cannot prepay the $400 fee, you may request permission to proceed in

forma pauperis in accordance With the procedures set forth in the Court’s form
application to proceed informapauperz`s. Se_e 28 U.S.C. § 1915 ; Local C'ivil Rule 3.3. '

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o lf the court grants your request, the $50 administrative fee Will not be
assessed and your total filing fee Will be $350.

¢ You Will be required to make an initial partial payment, Which the court
Will calculate, and then prison officials Will deduct the remaining balance
from your prison accounts over time.

¢ These deductions Will be made until the entire $350 filing fee is paid,
regardless of how the court decides your case.

7. The Court Will review your complaint before deciding Whether to authorize
service of process on the defendants See 28 U.S.C. §§ 1915(6)(2), 1915A; 42 U.S.C. § _
1997e(c)(l)`. lf the Court grants such permission, the Clerl< Will send you the necessary
instructions and forms.

8. lf you have been granted permission to proceed in forma pauperis, the United
States Marshals Service Will be authorized to serve the defendants based on information
you provide If you have not been granted permission to proceed in forma pauperis, you
Will be responsible for service of a separate summons and copy of the complaint on each
defendant in accordance With Rule 4 of the F ederal Rules of Civil Procedure.

 

COMPLAINT
I. Jurisdiction is asserted pursuant to:
x 42 U...sc § 1983 and 28 U...sc § 1343(3)(3)
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If you Want to assert jurisdiction under different or additional statutes, list these

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II. State Whether you are a:
__ Convicted and sentenced state prisoner
_ Convicted and sentenced federal prisoner
_ Pretrial detainee
_ Immigration detainee

Civilly committed detainee \

2gorn»,r`(please explain)' (‘Om‘pig£; i¥ E:y:cc ( `1 £i'zfm)inT/t(oc

III. Previous' Federal Civil Actions or Appeals 0 \FY\ ‘

List each civil action or appeal you have brought in a federal ourt While you Were
incarcerated or detained 1n ` y facility. f

 
   
 
    
    

a. Parties to previo

Plaintiff(S);

 

Defendant(s):

 

 

 

 

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c. Approximate date of fillng

 

    
 

lssues raised:

 

 

 

the case dismissed? Was
ase still pending? Did you

 

 

 

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IV. Parties to Current Lawsuit

State information about yourself and each person or company listed as a defendant
in the caption (the- heading) of this complaint

l . Plaintiff

Name and any aliases: D®LMMLQJQ%L_CI£Q'Q k

v Address: a f f °

0/< 1573/511

 

2. 1 Defendant No.l

Name and official position: (\ \"i:}/ og DCi , C \'ij;/} .:y\C/»

Place of employment and/or residence: b 61 C/H§ [ 2 § )|S igi_{ 151/vi 01,

'_73 115 mcmic/`m i/Ti:/x/ fn cmr\r>nroeheoii

How is this person sued? ( ) official capacity, ( ) individual capacity, (>()
both

 

3. Defendant No. 2

 
 
 

Name and official position _

gE)fici/m § . i?n]ei/, 30

Place of employment and/or residence: mm\/NF C/ ?i:\/ <5<9~ i>€i

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How is this person sued? ( ) official capacity, ( ) individual capacity, ()Q)
both

If there are more than two defendants, describe the additional defendants using
this same format on a separate sheet(s).

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V. Cause of Action

lnstructions
l. Provide a short and plain Statement of each claim.
0 Describe the facts that are the basis for your claim.
¢ You can generally only sue defendants Who Were` directly involved in

harming you. Describe how each defendant violated your rights, giving
dates and places. l

¢ Explain how you Were hurt and the extent of your inj uries.
2. You are not required to cite case law.
0 Describe the constitutional or Statutory rights you believe the defendant(s)
violated.
0 At this stage in the proceedings, you do not need to cite or discuss any case
laW-.
3. You are not required to attach exhibits

¢ lf you do attach exhibits, you should refer to the exhibits in the statement of
your claim and explain Why you included them.

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/ ` k\`\;.` .
5. Be aware of any statute of limitations "

v 0 lf you are suing about events that happened in the past, your case may be

subject to dismissal under the statute of limitations F or example, for many
civil rights claims, an action must be brought Within two years from the
date When the plainti t is the l 7
basis for the claim. `

  
 

 

 
   

   

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Claims

List the federal right(s) that you believe have been violated, and describe What

happened Each alleged Violation of a federal right should be listed separately as its own
claim. `

1_. Claim 1:
(l) List the right that you believe Was violated:

 

 

 

 

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(2) List the defendant(s) to this claims (lf you have sued more than one

defendant, specify each person or entity that is a defendant for this
particular claim.)

 

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(3) List the supporting facts:

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(4) Relief requested: (State briefly exactly what you want the court to

 

 

 

 

do for you.) '
\\ 17
2. Claim II:
(l) List the right that you believe was violated:
/‘ /
k‘

 

 

 

 

(2) List the defendant(s) to this claim: (If you have sued more than one
defendant, specify each person or entity that is a defendant for this

particular claim.) '

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(3) List the supporting facts:

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(4) Relief requested: (State briefly exactly what you want the court to
do for you.)

'\\ /`/

 

 

 

 

lf there are more than two claims that you wish to assert, describe the additional
claims using this same format on_ a separate sheet(s).

VI. Declarations

l declare under penalty of perjury that the foregoing is true and correct.

*_.

 

 

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